            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR32


UNITED STATES OF AMERICA                  )
                                          )
                                          )
             VS.                          )          ORDER
                                          )
                                          )
DARIAN KENDALL ROBINSON                   )
                                          )


     THIS MATTER is before the Court on Defendant’s motion to

withdraw his guilty plea and counsel’s motion to withdraw.

     The Court finds a hearing is necessary to resolve the issues raised in

these motions. The Court will also require Defendant’s former attorney,

Tony Rollman, to appear at the hearing.

     IT IS, THEREFORE, ORDERED that a hearing on Defendant’s

motion to withdraw his plea and counsel’s motion to withdraw is hereby

scheduled for WEDNESDAY, APRIL 9, 2008, AT 10:00 AM, at the U.S.

Courthouse in Asheville, North Carolina, in the Third Floor courtroom. The

United States Marshal is requested to have the Defendant present for this

hearing.




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     The Clerk shall transmit this Order electronically to the parties herein,

the United States Marshal, the United States Probation Office, and to Mr.

Tony Rollman.

                                      Signed: March 28, 2008




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